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                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
 9

10          UNITED STATES OF AMERICA,                      CASE NO. CR13-0071JLR

11                                  Plaintiff,             ORDER ON REQUEST FOR
                   v.                                      JUDICIAL RECOMMENDATION
12
            JOSEPH L. GARCIA,
13
                                    Defendant.
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15          Before the court is pro se Defendant Joseph L. Garcia’s request for a judicial

16   recommendation regarding his halfway house placement. (Request (Dkt. # 205).) Mr.

17   Garcia asks the court to recommend to the Bureau of Prisons (“BOP”) that it allow him to

18   serve up to twelve months in a halfway house rather than the 121 to 151 days that the

19   BOP has determined is appropriate in his case. (See id.) He explains that he believes that

20   more time in a halfway house will give him the opportunity to “get into a program and

21   routine” and that he is “truly trying to succeed” after his release and not return to prison

22   as he has in the past. (Id.)


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 1          The Supreme Court has made clear that “[w]hen a court sentences a federal

 2   offender, the BOP has plenary control, subject to statutory constraints, over ‘the place of

 3   the prisoner’s imprisonment,’ and the treatment programs (if any) in which he may

 4   participate.” Tapia v. United States, 564 U.S. 319, 331 (2011). The sentencing judge can

 5   make a judicial recommendation to the BOP but ultimately, “decisionmaking authority

 6   rests with the BOP.” Id. Accordingly, pursuant to its discretionary authority to make a

 7   non-binding recommendation to the BOP, see United States v. Ceballos, 671 F.3d 852,

 8   856 n.2 (9th Cir. 2011), the court RECOMMENDS to the BOP that it place Mr. Garcia in

 9   a halfway house for a period of six months.

10          Dated this 10th day of November, 2021.

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                                                      JAMES L. ROBART
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                                                      United States District Judge
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     ORDER - 2
